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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                 Charlottesville Division

   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, TYLER MAGILL, APRIL
   MUNIZ, HANNAH PEARCE, MARCUS
   MARTIN, NATALIE ROMERO, CHELSEA
   ALVARADO, and JOHN DOE,


                                 Plaintiffs,
   v.

   JASON KESSLER, RICHARD SPENCER,
   CHRISTOPHER CANTWELL, JAMES
   ALEX FIELDS, JR., VANGUARD
   AMERICA, ANDREW ANGLIN,                               Civil Action No. 3:17-cv-00072-NKM
   MOONBASE HOLDINGS, LLC, ROBERT
   “AZZMADOR” RAY, NATHAN DAMIGO,
   ELLIOT KLINE a/k/a/ ELI MOSLEY,
   IDENTITY EVROPA, MATTHEW
   HEIMBACH, MATTHEW PARROTT a/k/a
   DAVID MATTHEW PARROTT,
   TRADITIONALIST WORKER PARTY,
   MICHAEL HILL, MICHAEL TUBBS,
   LEAGUE OF THE SOUTH, JEFF SCHOEP,
   NATIONAL SOCIALIST MOVEMENT,
   NATIONALIST FRONT, AUGUSTUS SOL
   INVICTUS, FRATERNAL ORDER OF THE
   ALT-KNIGHTS, MICHAEL “ENOCH”
   PEINOVICH, LOYAL WHITE KNIGHTS OF
   THE KU KLUX KLAN, and EAST COAST
   KNIGHTS OF THE KU KLUX KLAN a/k/a
   EAST COAST KNIGHTS OF THE TRUE
   INVISIBLE EMPIRE,


                                 Defendants.

                                   NOTICE OF APPEARANCE

         PLEASE TAKE NOTICE that J. Benjamin Rottenborn of Woods Rogers PLC hereby

  makes a general appearance on behalf of Plaintiffs in the above-captioned matter. A request is

  made that this information be entered in the record of this matter.
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  Dated: May 22, 2018
                                     /s J. Benjamin Rottenborn
                                     J. Benjamin Rottenborn (VSB No. 84796)
                                     WOODS ROGERS PLC
                                     10 South Jefferson Street, Suite 1400
                                     Roanoke, Virginia 24011
                                     Telephone: (540) 983-7600
                                     Facsimile: (540) 983-7711
                                     brottenborn@woodsrogers.com

                                           Counsel for Plaintiffs




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on May 22, 2018, I filed the foregoing with the Clerk of Court
  through the CM/ECF system, which will send a notice of electronic filing to:

  Justin Saunders Gravatt
  David L. Hauck
  David L. Campbell
  Duane, Hauck, Davis & Gravatt, P.C.
  100 West Franklin Street, Suite 100
  Richmond, VA 23220
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  Charlottesville, VA 22902
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  Counsel for Defendants Michael Hill, Michael Tubbs, and League of the South

  Elmer Woodard
  5661 US Hwy 29
  Blairs, VA 24527
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  James E. Kolenich
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  9435 Waterstone Blvd. #140
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  Counsel for Defendants Jeff Schoep, Nationalist Front, National Socialist Movement, Matthew
  Parrott, Matthew Heimbach, Robert Ray, Traditionalist Worker Party, Elliot Kline, Jason
  Kessler, Vanguard America, Nathan Damigo, Identity Europa, Inc. (Identity Evropa), and
  Christopher Cantwell

  Michael Peinovich
  a/k/a Michael “Enoch” Peinovich
  PO Box 1069
  Hopewell Junction, NY 12533

  Pro Se Defendant



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          I further hereby certify that on May 22, 2018, I also served the following non-ECF
  participants, via U.S. mail, First Class and postage prepaid, addressed as follows:

   Loyal White Knights of the Ku Klux Klan            East Coast Knights of the Ku Klux Klan
   a/k/a Loyal White Knights Church of                a/k/a East Coast Knights of the
   the Invisible Empire, Inc.                         True Invisible Empire
   c/o Chris and Amanda Barker                        26 South Pine St.
   P.O. Box 54                                        Red Lion, PA 17356
   Pelham, NC 27311

   Richard Spencer                                    Fraternal Order of the Alt-Knights
   1001-A King Street                                 c/o Kyle Chapman
   Alexandria, VA 22314                               52 Lycett Circle
                                                      Daly City, CA 94015

   Moonbase Holdings, LLC                             Augustus Sol Invictus
   c/o Andrew Anglin                                  9823 4th Avenue
   P.O. Box 208                                       Orlando, FL 32824
   Worthington, OH 43085

   Andrew Anglin
   P.O. Box 208
   Worthington, OH 43085



                                              /s J. Benjamin Rottenborn
                                              J. Benjamin Rottenborn




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